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                             UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA


    In re:
                                                                 Chapter 11
    Stream TV Networks, Inc.,
                                                                 Bky. No. 23-10763 (MDC)
                   Debtor.


    In re:                                                       Chapter 11

    Technovative Media, Inc.,                                    Bky. No. 23-10764 (MDC)

              Debtor.                                            (Jointly Administered)1

                                                   ORDER
         AND NOW, for the reasons set forth in the accompanying Memorandum. 2

         IT IS HEREBY ORDERED that:

         1.     The Section 1112/1104 Motion is GRANTED solely to the extent it requests that a

trustee be appointed in the Debtors’ bankruptcy cases pursuant §1104(a) of the Bankruptcy Code.

         2.     The Hawk Stay Relief Motion is GRANTED to permit the Section 225 Action to

proceed solely with respect to the Technovative Director Issue and the Debt Conversion Issue.

         3.     The U.S. Trustee is directed to immediately begin the process for appointing a

chapter 11 trustee (the “Chapter 11 Trustee”), and shall file notice on the docket upon appointment.

         4.     Mr. Rajan is no longer authorized to take any action on behalf of the Debtors’

estates. To the extent the Debtors must take any urgent action pending the appointment of a

Chapter 11 Trustee, the Debtors shall identify any such actions needed to the U.S. Trustee, who may




1
 On April 11, 2023, the Court entered an order directing joint administration of the above-captioned cases.
Bankr. Docket No. 81.
2
 Capitalized terms used but not defined shall have the meaning given to them in the accompanying
Memorandum.
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confer with Mr. Rajan in addressing such matters but who is not obligated to act in conformity with

Mr. Rajan’s instruction or desired outcome.

           5.      A status hearing shall be held in these cases on January 24, 2024 at 2:00 p.m., in

Bankruptcy Courtroom No. 2, Robert N.C. Nix Federal Building & Courthouse, 900 Market

Street, 2nd Floor, Philadelphia, Pennsylvania.3



Dated: January 5, 2024                                               _______________________________
                                                                     Magdeline D. Coleman
                                                                     Chief U.S. Bankruptcy Judge




3
    Parties may appear telephonically if necessary, and with prior authorization of the Court .
